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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division

W1AV SOLUTIONS LLC,                               )
                                                  )
                       Plaintiff,                 )
                                                  )   Civil Action No. 3:09cv447-LO-JFA
               v.                                 )
                                                  )
MOTOROLA MOBILITY, INC., et«/.,                   )
                                                  )
                       Defendants.                )
                                                  )
                                                  )



          STIPULATION OF DISMISSAL WITH RESPECT TO DEFENDANTS
              SONY ERICSSON MOBILE COMMUNICATIONS (USA) INC.
                AND SONY ERICSSON MOBILE COMMUNICATIONS AB



       Plaintiff WiAV Solutions LLC ("WiAV"), by and through counsel, and Defendants Sony

Ericsson Mobile Communications (USA) Inc. and Sony Ericsson Mobile Communications AB

("Sony Ericsson Defendants"), by and through counsel, having settled all of their respective

claims for relief against each other in this action, hereby stipulate pursuant to Federal Rule of

Civil Procedure 41(a) to:

       (1) Dismissal with prejudice of all of WiAV's claims against Sony Ericsson Defendants

in this action; and

       (2) Dismissal with prejudice of all of Sony Ericsson Defendants' counterclaims against

WiAV in this action.


        Each party will bear its own costs, fees, and expenses.
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It is SO ORDERED this N_ day of November, 2011.
Alexandria, Virginia




                                              V§B
                                             LiamO'Grady
                                             UNITED STATES DISTRICT JUDGE
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Respectfully submitted this 10lh day of November, 2011

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Counselfor Plaintiff WiA VSolutions, LLC       Counselfor Sony Ericsson Defendants
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                                CERTIFICATE OF SERVICE

       Ihereby certify that on the 10th day ofNovember, 2011,1 electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of
such filing (NEF) to counsel of record.



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